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                                      Exhibit 1




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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

In re:                                                           Chapter 11

FTX TRADING LTD., et al., 1                                      Case No. 22-11068 (JTD)

         Debtors.                                                (Jointly Administered)



ALAMEDA RESEARCH LLC, FTX
TRADING LTD., WEST REALM SHIRES,
INC., AND WEST REALM SHIRES
SERVICES INC. (D/B/A FTX.US),

         Plaintiffs,
                                                                 Adv. Pro. No. 23-50419 (JTD)
         v.

DANIEL FRIEDBERG,
                                                                 Adv. Ref. Nos. 1, 6, 7, 8 & __
         Defendant.


                  ORDER APPROVING SECOND STIPULATION FOR
          EXTENSION OF TIME FOR DEFENDANT TO RESPOND TO COMPLAINT

         Upon the Certification of Counsel and the Second Stipulation for Extension of Time for

Defendant to Respond to Complaint (the “Stipulation”) 2 entered into between Plaintiffs,

Alameda Research LLC, FTX Trading Ltd., West Realm Shires, Inc., and West Realm Shires

Services Inc. (d/b/a FTX.US), and Defendant Daniel Friedberg, a copy of which is attached

hereto as Exhibit A; and the Bankruptcy Court having jurisdiction to consider approval of the

Stipulation; and it appearing that sufficient notice of the Stipulation has been given; and after due

deliberation; and good and sufficient cause appearing therefore;

1
    The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification number are 3288 and
    4063 respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a complete list of the
    Debtors and the last four digits of their federal tax identification numbers is not provided herein. A complete
    list of such information may be obtained on the website of the Debtors’ claims and noticing agent at
    https://cases.ra.kroll.com/FTX. The principal place of business of Debtor Emergent Fidelity Technologies Ltd
    is Unit 3B, Bryson’s Commercial Complex, Friars Hill Road, St. John’s, Antigua and Barbuda.
2
    Terms utilized but not otherwise defined herein shall have the meanings ascribed to them in the Stipulation.


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                  IT IS HEREBY ORDERED THAT:

                  1.   The Stipulation is APPROVED.

                  2.   This Bankruptcy Court shall retain jurisdiction with respect to all matters

arising from or related to the implementation or interpretation of this Order and the Stipulation.



Dated: ___________________, 2023
       Wilmington, Delaware
                                              _________________________________
                                              The Honorable John T. Dorsey
                                              United States Bankruptcy Judge




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                                      Exhibit A




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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

In re:                                                             Chapter 11

FTX TRADING LTD., et al., 1                                       Case No. 22-11068 (JTD)

         Debtors.                                                  (Jointly Administered)



ALAMEDA RESEARCH LLC, FTX
TRADING LTD., WEST REALM SHIRES,
INC., AND WEST REALM SHIRES
SERVICES INC. (D/B/A FTX.US),

         Plaintiffs,
                                                                   Adv. Pro. No. 23-50419 (JTD)
         v.

DANIEL FRIEDBERG,

         Defendant.


                SECOND STIPULATION FOR AN EXTENSION OF TIME FOR
                     DEFENDANT TO RESPOND TO COMPLAINT

         Plaintiffs, Alameda Research LLC, FTX Trading Ltd., West Realm Shires, Inc., and West

Realm Shires Services Inc. (d/b/a FTX.US) (the “Plaintiffs”), and Defendant Daniel Friedberg (the

“Defendant” and, together with the Plaintiffs, the “Parties”), by and through their respective

undersigned counsel, enter into this Second Stipulation for an Extension of Time for Defendant to

Respond to Complaint (the “Stipulation”) and hereby stipulate and agree as follows:




1   The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification number are 3288 and
    4063 respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a complete list of the
    Debtors and the last four digits of their federal tax identification numbers is not provided herein. A complete list
    of such information may be obtained on the website of the Debtors’ claims and noticing agent at
    https://cases.ra.kroll.com/FTX. The principal place of business of Debtor Emergent Fidelity Technologies Ltd is
    Unit 3B, Bryson’s Commercial Complex, Friars Hill Road, St. John’s, Antigua and Barbuda.



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         1.       On June 27, 2023, the Plaintiffs initiated the above-captioned adversary proceeding

by filing the Complaint [Adv. D.I. 1] (the “Complaint”).

         2.       On July 7, 2023, the Defendant executed a Waiver of the Service of Summons [Adv.

D.I. 6], agreeing to accept and waive his objections, if any, to service of process. The Defendant’s

deadline to respond to the Complaint was September 15, 2023.

         3.       On July 26, 2023, the Plaintiffs filed the Notice of Pretrial Conference [Adv. D.I.

7], noticing a pretrial conference (the “Pretrial Conference”) for October 4, 2023 at 1:00 p.m. (ET),

pursuant to rule 7004-2 of the Local Rules of Bankruptcy Practice and Procedure of the United

States Bankruptcy Court for the District of Delaware.

         4.       On September 22, 2023, FTX Trading Ltd. and its affiliated debtors and debtors-

in-possession filed the Notice of Rescheduled Hearing Date in the main chapter 11 proceedings

[D.I. 2680], rescheduling the Pretrial Conference to October 19, 2023 at 10:00 a.m. (ET).

         5.       On September 27, 2023, the Plaintiffs filed the Stipulation for an Extension of Time

for Defendant to Respond to Complaint [Ad. D.I. 8], extending the Defendant's deadline to respond

to the Complaint to October 4, 2023.

         6.       The Parties have conferred regarding an agreement to further extend the

Defendant’s response deadline and adjourn the Pretrial Conference.

         7.       The Defendant’s deadline to respond to the Complaint shall be extended through

and including October 20, 2023.

         8.       The Pretrial Conference shall be adjourned to November 15, 2023 at 1:00 p.m.

(ET).

         9.       The Defendant has further agreed to waive his right to seek further extension and/or

continuance of his deadline to respond to the Complaint.



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Dated: October 4, 2023

LANDIS RATH & COBB LLP                             LEWIS BRISBOIS BISGAARD &
                                                   SMITH LLP
/s/ Matthew B. McGuire
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